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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

TAMARA JEAN FARRELL,                 )
an individual,                       )
                                     )               CASE NO.: 1:21-cv-00922-SCJ
            Plaintiff,               )
vs.                                  )
                                     )
USPG PORTFOLIO FIVE, LLC,            )
a Georgia Limited Liability Company, )
                                     )
            Defendant.               )
___________________________________/ )

                      JOINT NOTICE OF SETTLEMENT

      Plaintiff and Defendant, file this Notice of Settlement to advise the Court

that they have reached an agreement regarding all material issues in this case. The

parties are currently finalizing the language of their agreement and anticipate filing

a joint stipulation for dismissal within twenty (20) days. The parties further request

that all hearings and deadlines be adjourned.

Dated: October 5, 2021

Respectfully submitted,                       Respectfully submitted,

/s/ John A. Moore                             /s/ E. Graham Newsome
John A. Moore, Esq.                           E. Graham Newsome, Esq.
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Counsel for Plaintiff                          Tel: (404) 264-1500
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                                               Attorney for Defendant
                                               USPG Portfolio Five, LLC


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 5th day of October, 2021, I electronically

filed the foregoing with the Clerk of Court by using CM/ECF system which will

send notice of electronic filing to all counsel of record.

                                                 /s/ John A. Moore
                                                 John A. Moore, Esq.




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